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  Start List At:                     OR Jump to record:                         Record 8 out of 8

                                                         ( Use the "Back" button of the Internet Browser to return to
TESS)




 Word Mark                    MISFIT
 Goods and Services           IC 043. US 100 101. G & S: Coffee shops. FIRST USE: 20171100. FIRST USE IN COMMERCE:
                              20171100
 Standard Characters
 Claimed
 Mark Drawing Code            (4) STANDARD CHARACTER MARK
 Serial Number                88981221
 Filing Date                  April 13, 2020
 Current Basis                1A
 Original Filing Basis        1A;1B
 Published for
                              June 15, 2021
 Opposition
 Registration Number          6466477
 Registration Date            August 31, 2021
 Owner                        (REGISTRANT) Misfit Coffee Company LLC LIMITED LIABILITY COMPANY MINNESOTA 207
                              Humboldt Ave North Minneapolis MINNESOTA 55405
 Attorney of Record           Todd R. Fronek
 Type of Mark                 SERVICE MARK
 Register                     PRINCIPAL
 Live/Dead Indicator          LIVE




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 Word Mark              MISFIT
 Goods and              IC 030. US 046. G & S: Coffee, coffee drinks, prepared coffee, coffee-based beverages, coffee beans,
 Services               preparations for making coffee-based beverages, coffee-based iced beverages. FIRST USE: 20171100.
                        FIRST USE IN COMMERCE: 20171100
 Standard
 Characters
 Claimed
 Mark Drawing
                        (4) STANDARD CHARACTER MARK
 Code
 Serial Number          88870013
 Filing Date            April 13, 2020
 Current Basis          1A
 Original Filing
                        1A;1B
 Basis
 Owner                  (APPLICANT) Misfit Coffee Company LLC LIMITED LIABILITY COMPANY MINNESOTA 207 Humboldt Ave
                        North Minneapolis MINNESOTA 55405
 Attorney of
                        Todd R. Fronek
 Record
 Type of Mark           TRADEMARK
 Register               PRINCIPAL
 Live/Dead
                        LIVE
 Indicator




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 EXHIBIT 3
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 Word Mark                    MISFIT
 Goods and Services           IC 032. US 045 046 048. G & S: Syrups for beverages, non-alcoholic cocktail mixes

                              IC 033. US 047 049. G & S: Bitters, alcoholic cocktail mixes
 Standard Characters
 Claimed
 Mark Drawing Code            (4) STANDARD CHARACTER MARK
 Serial Number                88983655
 Filing Date                  April 13, 2020
 Current Basis                1B
 Original Filing Basis        1A;1B
 Owner                        (APPLICANT) Misfit Coffee Company LLC LIMITED LIABILITY COMPANY MINNESOTA 207 Humboldt
                              Ave North Minneapolis MINNESOTA 55405
 Attorney of Record           Todd R. Fronek
 Type of Mark                 TRADEMARK
 Register                     PRINCIPAL
 Live/Dead Indicator          LIVE




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 Word Mark               MISFIT
 Goods and               IC 043. US 100 101. G & S: Restaurant services; catering services; bar services; providing of food and drink
 Services                via a mobile truck; mobile catering; mobile restaurant services; mobile café services for providing food and
                         drink. FIRST USE: 20171100. FIRST USE IN COMMERCE: 20171100
 Standard
 Characters
 Claimed
 Mark Drawing
                         (4) STANDARD CHARACTER MARK
 Code
 Serial Number           97171474
 Filing Date             December 14, 2021
 Current Basis           1A
 Original Filing
                         1A
 Basis
 Owner                   (APPLICANT) Misfit Coffee Company LLC LIMITED LIABILITY COMPANY MINNESOTA 207 Humboldt Ave.
                         N Minneapolis MINNESOTA 55405
 Attorney of
                         Todd R. Fronek
 Record
 Prior
                         6466477;6466478
 Registrations
 Type of Mark            SERVICE MARK
 Register                PRINCIPAL
 Live/Dead
                         LIVE
 Indicator




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 Word Mark                MISFIT
 Goods and
                          IC 043. US 100 101. G & S: Coffee shops. FIRST USE: 20171100. FIRST USE IN COMMERCE: 20171100
 Services
 Mark Drawing Code        (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
 Serial Number            88981222
 Filing Date              April 13, 2020
 Current Basis            1A
 Original Filing
                          1A;1B
 Basis
 Published for
                          June 15, 2021
 Opposition
 Registration
                          6466478
 Number
 Registration Date   August 31, 2021
 Owner               (REGISTRANT) Misfit Coffee Company LLC LIMITED LIABILITY COMPANY MINNESOTA 207 Humboldt
                     Ave North Minneapolis MINNESOTA 55405
 Attorney of Record Todd R. Fronek
 Description of Mark Color is not claimed as a feature of the mark. The mark consists of the letters "MIS" located above the
                     letters "FIT". The letters "FIT" are shown upside down and backwards.
 Type of Mark        SERVICE MARK
 Register            PRINCIPAL
 Live/Dead Indicator LIVE




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 Word Mark          MISFIT
 Goods and          IC 030. US 046. G & S: Coffee, coffee drinks, prepared coffee, coffee-based beverages, coffee beans,
 Services           preparations for making coffee-based beverages, coffee-based iced beverages. FIRST USE: 20171100. FIRST
                    USE IN COMMERCE: 20171100
 Mark Drawing
                    (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
 Code
 Serial Number      88870006
 Filing Date        April 13, 2020
 Current Basis      1A
 Original Filing
                    1A;1B
 Basis
 Owner              (APPLICANT) Misfit Coffee Company LLC LIMITED LIABILITY COMPANY MINNESOTA 207 Humboldt Ave
                    North Minneapolis MINNESOTA 55405
 Attorney of
                    Todd R. Fronek
 Record
 Description of     Color is not claimed as a feature of the mark. The mark consists of the letters MIS located above the letters FIT.
 Mark               The letters FIT are shown upside down and backwards.
 Type of Mark       TRADEMARK
 Register           PRINCIPAL
 Live/Dead
                    LIVE
 Indicator




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 Word Mark            MISFIT
 Goods and            IC 032. US 045 046 048. G & S: Syrups for beverages, non-alcoholic cocktail mixes
 Services
                      IC 033. US 047 049. G & S: Bitters, alcoholic cocktail mixes
 Mark Drawing
                      (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
 Code
 Serial Number        88983654
 Filing Date          April 13, 2020
 Current Basis        1A
 Original Filing
                      1A;1B
 Basis
 Owner                (APPLICANT) Misfit Coffee Company LLC LIMITED LIABILITY COMPANY MINNESOTA 207 Humboldt Ave
                      North Minneapolis MINNESOTA 55405
 Attorney of
                      Todd R. Fronek
 Record
 Description of       Color is not claimed as a feature of the mark. The mark consists of the letters MIS located above the letters
 Mark                 FIT. The letters FIT are shown upside down and backwards.
 Type of Mark         TRADEMARK
 Register             PRINCIPAL
 Live/Dead
                      LIVE
 Indicator




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                                                    Doc. Electronic
                                                          1-1 Filed      02/01/23
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 Word Mark           MISFIT
 Goods and           IC 043. US 100 101. G & S: Restaurant services; catering services; bar services; providing of food and drink via
 Services            a mobile truck; mobile catering; mobile restaurant services; mobile cafï¿½ services for providing food and drink.
                     FIRST USE: 20171100. FIRST USE IN COMMERCE: 20171100
 Mark Drawing
                     (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
 Code
 Serial Number       97171402
 Filing Date         December 14, 2021
 Current Basis       1A
 Original Filing
                     1A
 Basis
 Owner               (APPLICANT) Misfit Coffee Company LLC LIMITED LIABILITY COMPANY MINNESOTA 207 Humboldt Ave. N
                     Minneapolis MINNESOTA 55405
 Attorney of
                     Todd R. Fronek
 Record
 Prior
                     6466477;6466478
 Registrations
 Description of      Color is not claimed as a feature of the mark. The mark consists of the letters "MIS" located above the letters
 Mark                "FIT". The letters "FIT" are shown upside down and backwards.
 Type of Mark        SERVICE MARK
 Register            PRINCIPAL
 Live/Dead
                     LIVE
 Indicator




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   Sports       Fantasy         Daily Fantasy        NFL       Super Bowl        NBA      MLB     NHL       NCAAF        NCAAB       NCAAW         MMA         …




   Tribune Publishing



   Misfits Collective food hall coming to Apple Valley
                        Jess Fleming, Pioneer Press, St. Paul, Minn.
                        July 1, 2021 · 2 min read




                        Jul. 1—Tony Donatell, the king of cool suburban restaurants,
                        is taking his operations to Apple Valley.

                        The Misfits Collective, opening in the former PR's Sports Bar
                        on Florence Trail, is his biggest venture yet — a food hall of
                        sorts with four concepts under one roof.

                        Donatell is the guy behind Burgers and Bottles, Volstead
                        House, Mean Miner's Tacos and Farmer's Grandson in Eagan;
                        Bourbon Butcher in Farmington; Whiskey Inferno in Savage;
                        and Tequila Butcher in Chanhassen, most of which occupy
                        formerly unremarkable spaces in strip malls, gas stations and
                        previous Applebee's buildings.

                        This concept, he says, was born during the pandemic.

                                                           - ADVERTISEMENT -




                                                                                                                    TRENDING
                                                                                                                          Chiefs beat Bengals thanks to crucial
                                                                                                                    1.    penalty, will face Eagles in Super Bowl

                                                                                                                          Bobby Hull, Blackhawks legend and
                                                                                                                    2.    Hockey Hall of Famer, dies at 84

https://sports.yahoo.com/misfits-collective-food-hall-coming-200500811.html                                                                                            1/7
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                                                                                                                Cardinals request to interview Bengals
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                                                                                                          3.
                                                                                                     SHOPPING        YAHOO PLUS       MORE...  New NBA DFS
                                                                                                                DC Lou Anarumo for head coach job

                                                                                                            Rory McIlroy birdies 17 in
                                                                                                                                     and 18 to stealMail
                                                                                                          4.                   Sign
                                                                                                            Hero Dubai Desert Classic from Patrick
                                                                                                            Reed
   Sports      Fantasy      Daily Fantasy       NFL      Super Bowl    NBA      MLB     NHL       NCAAF    NCAAB      NCAAW         MMA
                                                                                                            Mahomes, Hurts will be first Black
                                                                                                          5.starting quarterbacks to face off in
                                                                                                            Super Bowl




                    "Basically, this entire brand was inspired by how our team
                    came together during the shutdowns," Donatell said. "It's
                    about the passions that they have ... sort of a playground to
                    do exactly what they want to do."

                    The four spaces are as follows:

                    Curiouser Coffee: A counter-service coffee and coffee
                    cocktail concept that is inspired by Alice in Wonderland. It's
                    from beverage director Ralena Young, and you should expect
                    coffee drinks that use house-made syrups, tinctures, bitters
                    and "flavor profiles you wouldn't see in a normal coffee
                    shop," said marketing director Emily Johnson. There are also
                    breakfast and lunch options — from a breakfast burrito to
                    oatmeal to sandwiches and desserts, including ice cream.

                    Ratio: A counter-service cocktail bar from Young featuring
                    "perfectly balanced cocktails" and Detroit-style pizza. Also,
                    house-made, wood-fired pizza rolls.

                    The Wanderer: A walk-up outdoor bar that will feature a
                    rotating, globally inspired menu. Donatell said it's a way for
                    every member of the team, many of whom come from
                    different parts of the globe, to be able to showcase their
                    culture and cuisine. The opening menu is from Mexico, and
                    the bar program will feature cocktails that fit into that niche.

                    Eighth Fire: A full-service concept inspired by chef Dan
                    Bennett in which plates meant for sharing are cooked over a
                    live open flame. There's everything from pizza and
                    vegetables cooked in embers to whole roasted chickens and
                    lamb shanks and wood-fired desserts like a s'mores
                    quesadilla and a rhubarb strawberry crisp.




https://sports.yahoo.com/misfits-collective-food-hall-coming-200500811.html                                                                                2/7
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                                                                                    to Apple Valley

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                            Story continues
                                                                                                                                Sign in           Mail



   Sports      Fantasy      Daily Fantasy       NFL      Super Bowl    NBA      MLB     NHL       NCAAF    NCAAB       NCAAW         MMA




https://sports.yahoo.com/misfits-collective-food-hall-coming-200500811.html                                                                              3/7
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                                                  MisfitsDoc.   1-1foodFiled
                                                          Collective           02/01/23
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             Recommended Stories
                                                  ProFootball Talk on NBC Sports                                                              Sign in           Mail

                                                  Benglas linebacker Germaine Pratt: “Why the f–k
   Sports      Fantasy       Daily Fantasy        would
                                                  NFL you    touch
                                                          Super    the quarterback?”
                                                                Bowl    NBA     MLB    NHL      NCAAF                    NCAAB       NCAAW         MMA
                                                  Multiple teammates consoled Bengals linebacker Joseph
                                                  Ossai after he drew a late hit penalty that put the Chiefs in
                                                  position for a field goal that delivered a Super Bowl berth f…
                                                  12h ago


                                                  NBC Sports BayArea

                                                  George Kittle's blunt two-word NSFW assessment of
                                                  49ers' NFC Championship loss
                                                  George Kittle offered a brutally honest assessment of the
                                                  49ers' NFC Championship Game loss to the Eagles.

                                                  15h ago


                                                  Ad • VantagePoint
                                                  A.I. Brain's Precise Predictions Stun Wall Street
                                                  Advanced A.I. “brain” consistently forecasts the stock market
                                                  with up to 87.4% accuracy… 1-3 days in advance. Here's what
                                                  it's seeing right now.




                                                  Cincinnati.com | The Enquirer

                                                  What's a jabroni? Travis Kelce's insult of Cincinnati
                                                  Mayor Aftab Pureval was WWE 'smack'
                                                  "Hey, I've got some wise words for that Cincinnati mayor,"
                                                  Travis Kelce said after the Chiefs' win. "Know your role and
                                                  shut your mouth, you jabroni!"
                                                  8h ago


                                                  The Telegraph
                                                  Rory McIlroy drains clutch putt to have last laugh
                                                  over Patrick Reed
                                                  An eight-day week of golfing madness ended here at the
                                                  Emirates Golf Club with Rory McIlroy lifting his third Dubai
                                                  Desert Classic title in one of the most dramatic finales the…
                                                  2h ago


                                                  College Football News
                                                  Coaches Poll Top 25 Projection College Basketball
                                                  Rankings Prediction Week 13
                                                  What will the latest Coaches college basketball poll be on
                                                  January 31st? We make our best guess prediction before the
                                                  real poll comes out on Monday morning
                                                  10m ago


                                                  Ad • MyDailyMagazine
                                                  Divers Find Old Camera, Then Regrets That It Works
                                                  Divers Find an Old Camera Lying On The Ocean Floor, Then
                                                  They Saw The Pictures




   Cincinnati.com | The Enquirer
   The officiating in the AFC Championship had NFL fans calling the game rigged for the
   Chiefs
   The officiating left a lot to be desired. This was how Twitter reacted.


https://sports.yahoo.com/misfits-collective-food-hall-coming-200500811.html                                                                                            4/7
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                                                   MisfitsDoc.   1-1foodFiled
                                                           Collective           02/01/23
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                                                                                     to Apple Valley

      HOME         MAIL      NEWS      FINANCE            SPORTS    ENTERTAINMENT       LIFE        SEARCH        SHOPPING      YAHOO PLUS      MORE...   New NBA DFS
                                                 4h ago


                                                                                                                                             Sign in           Mail

                                                                                               Key play
   Sports      Fantasy       Daily Fantasy       NFL         Super Bowl      NBA      MLB      included
                                                                                                 NHL      a NCAAF       NCAAB       NCAAW         MMA
                                                                                                 i late
                                                                                               The    d hit
                                                                                                        h ldi
                                                                                                            that
                                                                                               gave the Chiefs 15
                                                                                               extra yards and …
                                                                                               11h ago
   ProFootball Talk on NBC Sports

                                                 ProFootball Talk on NBC Sports

                                                 Jimmy Garoppolo: I wish I had a helmet on Sunday
                                                 After injuries to Brock Purdy and Josh Johnson, the 49ers
                                                 were left without a functioning quarterback in Sunday’s NFC
                                                 Championship Game loss to the Eagles. Purdy had to return…

                                                 5h ago


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                                                 Forrest Gump Has Iconic Scene Flaw No One
                                                 Noticed
                                                 No matter how many times you've seen the movie, this
                                                 ridiculous flaw has gone unnoticed, and it changes
                                                 everything...



                                                 Yahoo Sports
                                                 Joseph Ossai's hit on Patrick Mahomes goes down in
                                                 Bengals infamy, but he didn't face scrutiny alone
                                                 Head coach Zac Taylor came and embraced him and let him
                                                 cry into his shoulder. For Ossai, the support meant the
                                                 world, but he also still thought he had let the Bengals' worl…
                                                 10h ago


                                                 Yahoo Sports
                                                 NFL official explains apparent extra down for Chiefs
                                                 in AFC championship win over Bengals
                                                 The NFL is lucky the sequence didn't play a direct impact on
                                                 the outcome of the game.

                                                 10h ago


                                                 NBC Sports BayArea
                                                 NFL rumors: Brock Purdy sustained right UCL injury,
                                                 49ers believe
                                                 The 49ers reportedly are hoping Brock Purdy didn't sustain a
                                                 ruptured UCL in his right elbow.

                                                 15h ago


                                                 Ad • My Insurance Savings
                                                 Big Change Leaves Indiana Drivers Fuming
                                                 Don't pay your auto insurance bill until you read this.




   The Telegraph
   Patrick Reed rules controversy blows up around video of ball landing in wrong tree
   Patrick Reed was involved in yet another rules controversy after the American declared that, despite TV
   suggesting otherwise, he was “100 per cent certain" it was his ball lodged up a tree in Dubai.


https://sports.yahoo.com/misfits-collective-food-hall-coming-200500811.html                                                                                           5/7
1/30/23, 10:28 AM        CASE 0:23-cv-00252-PJS-JFD
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                                                                                    to Apple Valley

      HOME        MAIL      NEWS      FINANCE            SPORTS      ENTERTAINMENT    LIFE        SEARCH      SHOPPING      YAHOO PLUS      MORE...   New NBA DFS
                                                5h ago


                                                                                                                                         Sign in           Mail

                                                                                             Referee has
   Sports      Fantasy      Daily Fantasy       NFL         Super Bowl      NBA      MLB
                                                                                             straightforward
                                                                                               NHL     NCAAF        NCAAB       NCAAW         MMA
                                                                                             Veteran official
                                                                                             Eric Lewis wasn't
                                                                                             above admitting…
                                                                                             23h ago
   NBC Sports Boston

                                                USA TODAY Sports
                                                College basketball's weekend winners and losers
                                                headlined by Big 12 success and an Alabama flop
                                                There were major men's college basketball games across the
                                                country this weekend. A look at the winners and losers from
                                                all the action.
                                                5h ago


                                                Ad • SportzBonanza
                                                Deepest Hole in Earth Led To Remarkable Discovery
                                                Scientists dug the deepest hole on Earth, but tens of
                                                thousands of feet down, they came across an unusual sight
                                                that made them turn around




                                                AFP
                                                Djokovic 'hurt' by father's absence from Australian
                                                Open final
                                                Novak Djokovic said it "hurts him and me" after they decided
                                                that his father would not be courtside to see him win the
                                                Australian Open on Sunday, following a controversy over a…
                                                1d ago


                                                NBC Sports Boston
                                                Jayson Tatum responds to LeBron James' complaint
                                                after no-call in Celtics-Lakers
                                                LeBron James brought Jayson Tatum into the conversation
                                                with his latest lament about a missed call in Saturday's
                                                Celtics-Lakers game, but Boston's star forward took it in…
                                                3h ago


                                                Fort Worth Star-Telegram
                                                Georgia quarterback Stetson Bennett, two-time
                                                national champ, arrested in Dallas
                                                The Bulldogs quarterback, who beat TCU in the national
                                                championship game, was arrested Sunday morning.

                                                1d ago


                                                Ad • Sportinal
                                                44 Messed Up Things In Batman No One Notices
                                                40 wild facts about Adam West’s Batman show.




   Kansas City Star
   Why NFL refs awarded Kansas City Chiefs extra third-down attempt vs. Cincinnati
   Bengals
   There was a controversial play in the fourth quarter of Sunday’s game, as the Chiefs got a second
   attempt at a third-down conversion. Here’s what happened.

https://sports.yahoo.com/misfits-collective-food-hall-coming-200500811.html                                                                                       6/7
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                                                                                             iEagles
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                                                                                             tackle
                                                                                             Ndamukong Su…
                                                                                             3h ago
   ProFootball Talk on NBC Sports

                                                SNY
                                                Packers organization 'prefers to move on' from
                                                potential Jets trade target Aaron Rodgers: report
                                                The Green Bay Packers prefer to move on from Aaron
                                                Rodgers, a potential Jets trade target, according to a new
                                                report Sunday.
                                                13h ago




https://sports.yahoo.com/misfits-collective-food-hall-coming-200500811.html                                                                                      7/7
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EXHIBIT 10
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EXHIBIT 11
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA



Misfit Coffee Company, LLC,                             Civil Action No.

                                Plaintiff,

               v.                                       COMPLAINT

Tony Donatell and Lone Oak Store LLC
d/b/a THE MISFITS COLLECTIVE                            JURY TRIAL DEMANDED

                                Defendants.



        Plaintiff Misfit Coffee Company, LLC (“Misfit Coffee” or “Plaintiff”), for its claims

against Defendants Tony Donatell (“Donatell”) and Lone Oak Store LLC (“Lone Oak”)

(collectively “Defendants”) d/b/a THE MISFITS COLLECTIVE, states and alleges as follows:

                                  JURISDICTION AND VENUE

        1.      Misfit Coffee files this action against Defendants for trademark infringement,

dilution, unfair competition, and deceptive trade practices. The claims alleged in this Complaint

arise under the Lanham Act, 15 U.S.C. § 1051, et seq., Minnesota statutes, and common law.

This Court has subject matter jurisdiction over Misfit Coffee’s claims for federal trademark

infringement and unfair competition under 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338, and

over Misfit Coffee’s state and common law trademark infringement, dilution, and deceptive trade

practices claims under 28 U.S.C. § 1367.

        2.      Defendants conduct business in this judicial district, have engaged in and continue

to engage in infringing activity in this judicial district, and are subject to personal jurisdiction in
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this judicial district.

        3.       Venue is proper in this judicial district under 28 U.S.C. § 1391.

                                           THE PARTIES

        4.       Misfit Coffee is a Minnesota limited liability company having a principal place of

business at 2401 Lyndale Ave. S., Minneapolis, Minnesota 55405.

        5.       Misfit Coffee is a purveyor of coffee, tea, beer, cocktails, and food items

(including pastries and light lunch and dinner fare) through coffee shops, coffee and food trucks,

food services, kiosk operations, and event catering. Since 2015 Misfit Coffee has sold its coffee,

tea, beer, cocktails, and food items under the MISFIT mark.

        6.       Tony Donatell is a natural person believed to reside in or around Savage,

Minnesota. Donatell is the operator and nameholder for THE MISFITS COLLECTIVE, and

upon information and belief, is one of the owners of Lone Oak Store, LLC.

        7.       On information and belief, Lone Oak Store, LLC, whose headquarters is located

at 1286 Lone Oak Road, Eagan, Minnesota 55121, is the owner of THE MISFITS

COLLECTIVE, located at 14889 Florence Trail, Apple Valley, Minnesota 55124.

        8.       THE MISFITS COLLECTIVE provides restaurant services in Apple Valley,

Minnesota through what it describes as a “multi-concept food hall style setting.” The specific

restaurant services offered by THE MISFITS COLLECTIVE include, among other items, coffee,

tea, beer, cocktails, and food items (including breakfast, lunch, and dinner fare).

                                               FACTS

        9.       Since 2015, Misfit Coffee has been selling high quality specially roasted coffee

beans, coffee and tea drinks, beer and cocktails, and food items through its coffee shops, coffee

trucks, food services, kiosk operations, and event catering. Misfit Coffee has developed a



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reputation for high quality coffee, tea, beer, cocktails, and food products within Minnesota and

through the United States.

Misfit Coffee’s Federal Trademarks:

       10.     Misfit Coffee has obtained United States trademark registrations for the word

mark MISFIT, and for the stylized form of MISFIT.

       11.     A copy of Misfit Coffee’s U.S. Trademark Registration No. 6,466,477 (“the ’477

Registration”), registered August 31, 2021, for the word mark MISFIT for use with coffee shops

is attached as Exhibit 1.

       12.     A copy of Misfit Coffee’s U.S. Trademark Registration No. 6,466,478 (“the ’478

Registration”), registered August 31, 2021, for the word mark, MISFIT in stylized form, with the

letters “MIS” located above the letters “FIT” which are shown upside down and backwards, for

use with coffee shops is attached as Exhibit 2.

Defendants’ Infringing Activities:

       13.     In or around early July 2021, THE MISFITS COLLECTIVE opened for business

in Apple Valley, Minnesota. Shortly before its opening it was the subject of an article titled

“Misfits Collective food hall coming to Apple Valley,” published in the Pioneer Press, which

stated, among other things:

       Tony Donatell, the king of cool suburban restaurants, is taking his operations to Apple
       Valley.

       The Misfits Collective, opening in the former PR’s Sports Bar on Florence Trail, is his
       biggest venture yet – a food hall of sorts with four concepts under one roof.

       Donatell is the guy behind Burgers and Bottles, Volstead House, Mean Miner’s Tacos
       and Farmer’s Grandson in Eagan; Bourbon Butcher in Farmington; Whiskey Inferno in
       Savage; and Tequila Butcher in Chanhassen, most of which occupy formerly
       unremarkable spaces in strip malls, gas stations and previous Applebee’s buildings.

                                                      * * * *



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       The four spaces are as follows:

       Couriouser Coffee: A counter-service coffee and coffee cocktail concept that is inspired
       by Alice in Wonderland. It’s from beverage director Ralena Young, and you should
       expect coffee drinks that use house-made syrups, tinctures, bitters and “flavor profiles
       you wouldn’t see in a normal coffee shop,” said marketing director Emily Johnson.
       There are also breakfast and lunch options – from a breakfast burrito to oatmeal to
       sandwiches and desserts, including ice cream.…

A copy of the article titled “Misfits Collective food hall is coming to Apple Valley” is attached

as Exhibit 3.

       14.      After its opening, Misfit Coffee became aware that THE MISFITS

COLLECTIVE was selling coffee, tea, beer, cocktails, and food items through various beverage

and food-serving “concepts” located within it, including Curiouser Coffee. Copies of THE

MISFITS COLLECTIVE’s website describing its beverage and food-serving “concepts” and its

Curiouser Coffee coffee shop “concept” are attached as Exhibits 4 and 5, respectively.

       15.      The logo for THE MISFITS COLLECTIVE is displayed on its website,

www.themisfitscollective.co. As displayed on its website, “THE MISFITS COLLECTIVE” is

displayed in all capital letters featuring a backwards capital “F.” See Exhibit 4.

       16.      THE MISFITS COLLECTIVE also displays “Misfits Collective,” without

including the article “the” on at least its building signage and menus.

       17.      Copied below is a comparison of Misfit Coffee’s ‘478 Mark and THE MISFITS

COLLECTIVE logos used on its website and signage:

The ‘478 Mark:




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THE MISFITS COLLECTIVE’S use of “MISFIT”:




Like the ‘478 Mark, THE MISFITS COLLECTIVE logo is printed in all caps with the letter “F”

displayed backwards.

       18.    As of August 16, 2021, publicly available records maintained by the Office of the

Minnesota Secretary of State (“Minnesota Secretary of State”) listed Ms. Rheata Donatell as the

nameholder for THE MISFITS COLLECTIVE. See Ex. 6.

       19.    By letter dated August 16, 2021 addressed to Ms. Rheata Donatell, counsel for

Misfit Coffee gave the Defendant written notice of Misfit Coffee’s U.S. Trademark App. Ser.

Nos. 88/870,006; 88/870,013; 88/981,221, and 88/981,222 for its MISFIT mark and logo. This


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letter also noted that Misfit Coffee is already aware of incidents of actual confusion between its

MISFIT mark and the Defendants’ use of THE MISFITS COLLECTIVE. Misfit Coffee

requested that Defendant cease use of the marks THE MISFITS COLLECTIVE, MISFIT, and

any other confusingly similar marks in connection with food, coffee, or restaurant services, and

that Defendant change and permanently stop using the URL www.themisfitscollective.co. See

Ex. 7.

         20.   On August 26, 2021, counsel for Rheata Donatell sent a letter to Misfit Coffee’s

counsel stating that Rheata Donatell had been erroneously listed in the Minnesota Secretary of

State’s publicly-available records as the nameholder for THE MISFITS COLLECTIVE. That

letter further stated that Donatell was the appropriate nameholder for THE MISFITS

COLLECTIVE and that Donatell agreed to an assignment and amendment of THE MISFITS

COLLECTIVE assumed name. See Ex. 8.

         21.   Publicly-available records maintained by the Minnesota Secretary of State now

list Donatell as the nameholder for THE MISFITS COLLECTIVE. See Ex. 9.

         22.   After an exchange of emails and a telephone conversation with counsel for

Donatell, Misfit Coffee’s counsel sent Donatell’s counsel an email, dated September 7, 2021,

apprising him of the issuance of the ‘477 Mark and ‘478 Mark, and providing copies of the

registrations for those Marks. Counsel for Misfit Coffee also stated that Misfit Coffee would

provide the Defendant until September 10, 2021 to provide assurance that the Defendant would

cease using the previously identified marks, i.e., MISFIT and THE MISFITS COLLECTIVE,

immediately. Absent such assurance, Misfit Coffee’s counsel stated that Misfit Coffee would

pursue further legal action. See Ex. 10.

         23.   Despite an additional exchange of written communications exchanged via email




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after September 10, 2021, Defendants continue to use the ‘477 Mark and ‘478 Mark, in its name,

THE MISFITS COLLECTIVE, its logo, and its URL, www.themisfitscollective.co, and have not

committed to ceasing such use.

                                       COUNT I
     (Federal Trademark Infringement of U.S. Trademark Registration No. 6,466,477)
                             (Violation of 15 U.S.C. § 1114)

       24.      Misfit Coffee restates and realleges each of the allegations contained in

paragraphs 1 through 23 above.

       25.      The Defendants’ unauthorized use of the phrase, THE MISFITS COLLECTIVE,

as its name has caused and is likely to cause confusion, to cause mistake, or to deceive

consumers, and constitutes infringement of Misfit Coffee’s ‘477 Mark.

       26.      Upon information and belief, the Defendants deliberately and willfully infringed

Misfit Coffee’s ‘477 Mark in an attempt to trade off the recognition and goodwill associated with

that Mark.

       27.      The Defendants’ actions are likely to cause irreparable harm to Misfit Coffee

unless enjoined.

       28.      The Defendants’ actions entitle Misfit Coffee to monetary relief under 15

U.S.C. §1117.

       29.      As a result of the Defendants’ trademark infringement, Misfit Coffee has suffered

loss and damages in an amount to be determined at trial. Misfit Coffee is entitled to recover the

Defendants’ profits attributed to their infringing activities. Misfit Coffee is entitled to attorneys’

fees and costs incurred in this action. Misfit Coffee is also entitled to permanent injunctive relief,

enjoining the Defendants from further and continuing violations of 15 U.S.C. § 1114.

                                     COUNT II
     (Federal Trademark Infringement of U.S. Trademark Registration No. 6,466,478)


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                                  (Violation of 15 U.S.C. § 1114)

       30.      Misfit Coffee restates and realleges each of the allegations contained in

paragraphs 1 through 29 above.

       31.      The Defendants’ unauthorized use of the phrase, THE MISFITS COLLECTIVE,

as its name and its logo using that phrase with a backwards “F,” has caused and is likely to cause

confusion, to cause mistake, or to deceive consumers, and constitutes infringement of Misfit

Coffee’s ‘478 Mark.

       32.      Upon information and belief, the Defendant deliberately and willfully infringed

Misfit Coffee’s ‘478 Mark in an attempt to trade off the recognition and goodwill associated with

that Mark.

       33.      The Defendants’ actions are likely to cause irreparable harm to Misfit Coffee

unless enjoined.

       34.      The Defendants’ actions entitle Misfit Coffee to monetary relief under 15

U.S.C. §1117.

       35.      As a result of the Defendants’ trademark infringement, Misfit Coffee has suffered

loss and damages in an amount to be determined at trial. Misfit Coffee is entitled to recover the

Defendants’ profits attributed to their infringing activities. Misfit Coffee is entitled to attorneys’

fees and costs incurred in this action. Misfit Coffee is also entitled to permanent injunctive relief,

enjoining the Defendant from further and continuing violations of 15 U.S.C. § 1114.

                                            COUNT III
                                   (Federal Unfair Competition)
                                 (Violation of 15 U.S.C. § 1125(a))

       36.      Misfit Coffee restates and realleges each of the allegations contained in

paragraphs 1 through 35 above.



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       37.     The Defendants’ unauthorized use of the THE MISFITS COLLECTIVE,

including when used with a backwards “F,” on and in connection with its coffee shop and

restaurant is likely to cause confusion, to cause mistake, or to deceive as to the affiliation,

connection or association of the Defendant with Misfit Coffee, or as to the origin of the

Defendants’ goods, or as to the sponsorship or approval of Defendants’ goods and/or commercial

activities by Misfit Coffee, all in violation of 15 U.S.C. § 1125(a).

       38.     Upon information and belief, the Defendants’ unlawful actions were deliberate

and willful.

       39.     The Defendants’ actions are likely to cause irreparable harm to Misfit Coffee

unless enjoined.

       40.     As a result of the Defendants’ actions, Misfit Coffee has suffered loss and damage

in an amount to be determined at trial. Misfit Coffee is entitled to recover the Defendants’ profits

attributed to Defendants’ unlawful activities. Misfit Coffee is entitled to attorneys’ fees and costs

incurred in this action. Misfit Coffee is further entitled to permanent injunctive relief enjoining

the Defendants from further and continuing violations of 15 U.S.C. § 1125(a).

                                          COUNT IV
                             (Minnesota Unlawful Trade Practices)
                              (Violation of Minn. Stat. § 325D.13)

       41.     Misfit Coffee restates and realleges each of the allegations contained in

paragraphs 1 through 40 above.

       42.     The Defendants’ use of the phrase THE MISFITS COLLECTIVE, including

when used with a backwards “F,” on and in connection with its coffee shop and restaurant

misrepresents, directly or indirectly, the origin of Defendants’ coffee, tea, beer, cocktails, and

food products, and constitutes unlawful trade practices in violation of Minn. Stat. § 325D.13.




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       43.     Misfit Coffee has been damaged and/or is threatened with loss, damage, or injury

by reason of the Defendants’ unlawful trade practices unless enjoined.

       44.     As a result of the Defendants’ violation of Minn. Stat. § 325D.13, Misfit Coffee

has suffered loss and damage in an amount to be determined at trial. Misfit Coffee is entitled to

attorneys’ fees and costs incurred in this action. Misfit Coffee is entitled to preliminary and

permanent injunctive relief, enjoining the Defendants from further and continuing violations of

Minn. Stat. § 325D.13.

                                          COUNT V
                            (Minnesota Deceptive Trade Practices)
                          (Violation of Minn. Stat. § 325D.43, et. seq.)

       45.     Misfit Coffee restates and realleges each of the allegations contained in

paragraphs 1 through 44 above.

       46.     The ‘477 Mark and ‘478 Mark are each a “Trademark” as defined in Minn. Stat. §

325D.43, subd. 7.

       47.     The Defendants’ unauthorized use of the phrase THE MISFITS COLLECTIVE,

including when used with a backwards “F,” is likely to cause confusion or misunderstanding as

to the source of the Defendants’ coffee, tea, beer, cocktails, and food products, or as to the

sponsorship or approval of the Defendants’ coffee, tea, beer, cocktails, and food products by

Misfit Coffee, or as to the origin of the Defendants’ goods, or as to the sponsorship or approval

of Defendants’ goods and/or commercial activities by Misfit Coffee, all in violation of the

Minnesota Deceptive Trade Practices Act, Minn. Stat. § 325D.44.

       48.     Upon information and belief, the Defendant acted deliberately and willfully in its

unauthorized use of Misfit Coffee’s ‘477 Mark and ‘478 Mark.

       49.     Misfit Coffee is likely to be damaged by the Defendants’ deceptive trade practices




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unless enjoined.

       50.     As a result of the Defendants’ violation of the Minnesota Deceptive Trade

Practices Act, Misfit Coffee has suffered loss and damage in an amount to be determined at trial.

Misfit Coffee is entitled to attorneys’ fees and costs incurred in this action. Misfit Coffee is

entitled to preliminary and permanent injunctive relief, enjoining the Defendant from further and

continuing violations of the Minnesota Deceptive Trade Practices Act.

                                           COUNT VI
                                (Dilution under Minnesota Law)
                               (Violation of Minn. Stat. § 333.285)

       51.     Misfit Coffee restates and realleges each of the allegations contained in

paragraphs 1 through 50 above.

       52.     The ‘477 Mark and ‘478 Mark are distinctive and famous in Minnesota.

       53.     The Defendants’ use of the phrase THE MISFITS COLLECTIVE, including

when used with a backwards “F,” on and in connection with sales of its coffee, tea, beer,

cocktails, and food products began after the ‘477 Mark and ‘478 Mark became famous in

Minnesota.

       54.     The Defendants’ unauthorized use of the phrase THE MISFITS COLLECTIVE,

including when used with a backwards “F,” on and in connection with its coffee, tea, beer,

cocktails, and food products is causing dilution of the distinctive quality of the ‘477 Mark and

‘478 Mark.

       55.     Upon information and belief, the Defendant acted deliberately and willfully in

intending to trade on Misfit Coffee’s reputation or to cause dilution of its famous marks.

       56.     Misfit Coffee is likely to be damaged by the Defendants’ dilution of its famous

marks unless enjoined.




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       57.     As a result of the Defendants’ violation of Minn. Stat. § 333.285, Misfit Coffee

has suffered loss and damage in an amount to be determined at trial. Misfit Coffee is entitled to

attorneys’ fees and costs incurred in this action. Misfit Coffee is entitled to preliminary and

permanent injunctive relief, enjoining the Defendant from further and continuing violations of

Minn. Stat. § 333.285.

                                    COUNT VII
                  (Common Law Trademark and Trade Dress Infringement)

       58.     Misfit Coffee restates and realleges each of the allegations contained in

paragraphs 1 through 57 above.

       59.     The Defendants’ actions constitute trademark infringement under the common

law.

       60.     As a direct and proximate result of the likelihood of confusion, mistake or

deception caused by the Defendants’ unlawful actions, Misfit Coffee has suffered and will

continue to suffer irreparable harm if the Defendants’ unlawful conduct is not enjoined.

       61.     The Defendants’ actions entitle Misfit Coffee to monetary relief in an amount to

be determined at trial.

                                      COUNT VIII
                              (Common Law Unfair Competition)

       62.     Misfit Coffee restates and realleges each of the allegations contained in

paragraphs 1 through 61 above.

       63.     The Defendants’ actions constitute unfair competition under the common law.

       64.     As a direct and proximate result of the Defendant engaging in unfair competition,

Misfit Coffee has suffered and will continue to suffer irreparable harm if the Defendants’

conduct is not enjoined.




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        65.     The Defendants’ actions entitle Misfit Coffee to monetary relief in an amount to

be determined at trial.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38, Misfit Coffee hereby demands a trial by jury of any issue

in this matter triable of right to a jury.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that the Court enter judgment:

        A.      On Counts I, II, and III, for an award of the Defendants’ profits, any damages

sustained by Plaintiff, together with the costs of this action, the precise amounts of all the

foregoing to be determined at trial, pursuant to 15 U.S.C. § 1117;

        B.      That the amount found as actual damages be increased by an amount not

exceeding three times, pursuant to 15 U.S.C. § 1117;

        C.      On Counts III through VIII, for an award of any damages sustained by Plaintiff,

the precise amounts of which to be determined at trial;

        D.      On Counts I through VIII, for permanent injunctive relief enjoining the

Defendant, and all persons in active concert with the Defendant, from using the phrase THE

MISFITS COLLECTIVE, including but not limited to, when used with a backwards “F,” on or in

connection with coffee, tea, beer, cocktails, and food products, pursuant to 15 U.S.C. § 1116, the

common law, Minn. Stat. § 325D.15, Minn. Stat. § 325.45, and Minn. Stat. § 333.28-29;

        E.      That the case be deemed exceptional and that Plaintiff be awarded its attorney

fees, pursuant to 15 U.S.C. § 1117, Minn. Stat. § 325D.45, and Minn. Stat. § 333.29;

        F.      An order for destruction of any and all promotional, advertising, or marketing

materials in the possession or control of Defendant bearing the ‘477 Mark, ‘478 Mark, or the




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phrase THE MISFITS COLLECTIVE, including, but not limited to, when used with a backwards

“F.”

         H.       For such other and further relief as the court may deem just and equitable.




                                                Respectfully Submitted,


Date: September 28, 2021                        /s/ Christopher A. Young
                                                Christopher A. Young (288998)
                                                LARKIN HOFFMAN DALY & LINDGREN LTD.
                                                8300 Norman Center Drive, Suite 1000
                                                Minneapolis, Minnesota 55437-1060
                                                Telephone      952.835.3800
                                                Facsimile      952.842.1832
                                                cyoung@larkinhoffman.com

                                                ATTORNEYS FOR PLAINTIFF
                                                Misfit Coffee Company LLC


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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA



Misfit Coffee Company, LLC,                           Civil Action No. 21-CV-2130-DWF-JDG

                              Plaintiff,

              v.                                      STIPULATION FOR DISMISSAL
                                                      WITH PREJUDICE
Tony Donatell and Lone Oak Store LLC
d/b/a THE MISFITS COLLECTIVE,


                              Defendants.




       The parties, by and through their undersigned counsel, hereby agree and stipulate

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) that this matter may be dismissed with prejudice and

on the merits without an award of costs or fees to either party.

                                              Respectfully Submitted,


Date: December 20, 2021                       /s/ Christopher A. Young
                                              Christopher A. Young (0288998)
                                              LARKIN HOFFMAN DALY & LINDGREN LTD.
                                              8300 Norman Center Drive, Suite 1000
                                              Minneapolis, Minnesota 55437-1060
                                              Telephone      952.835.3800
                                              Facsimile      952.842.1832
                                              cyoung@larkinhoffman.com

                                              ATTORNEYS FOR PLAINTIFF
                                              Misfit Coffee Company LLC
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Date: December 20, 2021                /s/ Charlie R. Alden
                                       Charlie R. Alden (0389896)
                                       GILBERT ALDEN PLLC
                                       2801 Cliff Rd. E.
                                       Suite 200
                                       Burnsville, MN 55337
                                       charlie@gilbertalden.com
                                       Telephone       612.990.2484
                                       Facsimile       612.806.0585

                                       ATTORNEYS FOR DEFENDANTS
                                       Tony Donatell and Lone Oak Store LLC



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EXHIBIT 13
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                                SETTLEMENT AGREEMENT

        THIS SETTLEMENT AGREEMENT (this “Agreement”) is entered into as of
December 14, 2021 (the ‘Effective Date”) by and among Misfit Coffee Company, LLC, a
Minnesota limited liability company, having a principal place of business at 2401 Lyndale Ave.
South, Minneapolis, Minnesota (“Misfit”), Tony Donatell, an individual having an address of
1286 Lone Oak Rd, Eagan, MN 55121 (“Donatell”), Lone Oak Store, LLC (“Lone Oak”), and
Misfit AV LLC (“Misfit AV”) (Donatell, Lone Oak, and Misfit AV shall collectively be referred
to as the “Donatell Entities”) (Misfit and the Donatell Entities shall collectively be referred to as
the “Parties,” and each, individually, as a “Party.”
                                           RECITALS
      WHEREAS, at least as early as 2015 Misfit has used the distinctive, federally registered
MISFIT® mark to provide restaurant services;
        WHEREAS, in or around early July 2021, Donatell and Misfit AV opened a restaurant
featuring a multi-concept food hall style setting that was named The Misfits Collective;
       WHEREAS, U.S. Trademark Registration No. 6,466,477 (“the ’477 Registration”), for
the word mark MISFIT® for use with coffee shops in international class 43 was registered on
August 31, 2021;
       WHEREAS, U.S. Trademark Registration No. 6,466,478 (“the ’478 Registration”), for


the word mark MISFIT® in stylized form (               ) for use with coffee shops in international
class 43 was registered on August 31, 2021;
        WHEREAS, U.S. Trademark Application No. 88/870,013 (“the ‘013 Application”), in
international classes 30, 32 and 33 was filed on April 13, 2020;
       WHEREAS, U.S. Trademark Application No. 88/870,006 (“the ’006 Application”), for


the word mark MISFIT® in stylized form (               ) for use with coffee shops in international
classes 30, 32 and 33 was filed on April 13, 2021;
       WHEREAS, Misfit objected to Donatell and Misfit AV’s use of the MISFIT mark and
any name incorporating the mark, in particular as used in The Misfits Collective, contending it
would cause consumer confusion with respect to Misfit’s prior use of its MISFIT® service marks
(the “Dispute”);
        WHEREAS, Misfit filed a complaint in United States District Court for the District of
Minnesota (“the Complaint” and the “Lawsuit”) including counts for Federal Trademark
Infringement of the ‘477 and ‘478 Registrations (collectively, the “Registrations”), violation of
15 U.S.C. § 1114, violation of 15 U.S.C. § 1125(a), violation of Minn. Stat. § 325D.13, violation
of Minn. Stat. § 325D.43, et. seq., and violation of Minn. Stat. § 333.285, common law
trademark and trade dress infringement, and common law unfair competition;
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        WHEREAS, the Complaint named Donatell and Lone Oak as defendants, contending
that upon information and belief, Lone Oak was the entity responsible for the allegedly
infringing use of the MISFIT® service marks;
        WHEREAS, the Donatell Entities represent and warrant that the legal entity responsible
for the allegedly infringing use of the MISFIT® service marks was in fact Misfit AV and not
Lone Oak;
       WHEREAS, given that Lone Oak has been named as a defendant in the Lawsuit, the
Donatell Entities wish to settle all claims against Lone Oak and Misfit AV, despite the latter not
having been named as a defendant;
        WHEREAS, the Parties wish to resolve the Complaint and Lawsuit without having to
incur additional attorneys’ fees and costs.
       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency
of which is hereby acknowledged, and intending to be legally bound hereby, the Parties hereby
agree as follows:
                                         AGREEMENT

        1.     Cessation of Use of the Mark. The Donatell Entities, and any other entity for
which Donatell is a member, officer, director, agent and/or employee, and any member,
shareholder, officer, director, agent, employee and all those acting in concert or participation
with any Donatell Entity, shall themselves and cause all other persons or entities under their
control to permanently cease, on or before November 1, 2021, all use of:

               (a)    the mark The Misfits Collective and any mark incorporating the MISFIT®
       mark in connection with any goods or services in international classes 30, 32, 33 and 43
       (“the Protected Classes”);

               (b)    any word, term, name, symbol, or device (or any combination thereof) that
       is identical or confusingly similar to, or a colorable imitation or dilutive of, Misfit’s
       MISFIT® mark (as used in the ‘477 Registration and ‘013 Application) or MISFIT® mark


       in stylized form (          ) (as used in the ‘478 Registration and ‘006 Application);

               (c)    the <themisfitcollective.co> domain name in connection with use in any of
       the Protected Classes; or

               (d)     any false designation of origin, false or misleading description of fact, or
       false or misleading representation of fact that is likely to cause confusion, or to cause
       mistake, or to deceive as to the affiliation, connection, or association of the Donatell
       Entities, or as to the source or origin of, or sponsorship or approval by, the Donatell
       Entities’ services, goods, or commercial activities.

        2.     Abandonment of Rights. The Donatell Entities hereby declare their voluntary,
intentional, and irrevocable abandonment of any and all rights in and to the mark The Misfits
Collective in connection with any use in any of the Proteced Classes, and any mark incorporating


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the MISFIT® mark and any word, term, name, symbol or device (or any combination thereof)
that is identical or confusingly similar to, or a colorable imitation or dilutive of, Misfit’s


MISFIT® mark or MISFIT® mark in stylized form (              ).

        3.      Removal of Materials from the Marketplace. The Donatell Entities shall take all
necessary steps to remove from public view and access by no later than November 1, 2021 all
materials, including all signs, displays, and promotional and packaging materials that use,
feature, or bear:

              (a)    The Misfits Collective mark and any mark incorporating the MISFIT®
       mark in connection with any use in the Protected Classes;

               (b)    any word, term, name, symbol or device (or any combination thereof) that
       is identical or confusingly similar to, or a colorable imitation or dilutive of, Misfit’s


       MISFIT® mark or MISFIT® mark in stylized form (               ); or

               (c)    any false designation of origin, false or misleading description of fact, or
       false or misleading representation of fact that is likely to cause confusion, or to cause
       mistake, or to deceive as to the affiliation, connection, or association of the Donatell
       Entities with Misfit, or as to the source or origin of, or sponsorship or approval by
       Donatell Entities’ services, goods, or commercial activities.

       4.      Future Trademark Applications. The Donatell Entities shall not apply for,
prosecute, maintain, or enforce, or seek to have any third party apply for, prosecute, maintain or
enforce for the Donatell Entities benefit, any registration for the MISFIT mark, any mark
incorporating the MISFIT mark, or any mark that is identical or confusingly similar to, or a
colorable imitation or dilutive of, Misfit's MISFIT® mark or MISFIT® mark in stylized form


(         ) on any federal or state trademark registry.

      5.     Acknowledgement of Ownership and No Challenge. The Donatell Entities
acknowledge that Misfit is the owner of all right, title and interest in and to Misfit's MISFIT®


mark and MISFIT® mark in stylized form (            ) and the Registrations and Applications.
The Donatell Entities acknowledge that Misfit's MISFIT® mark and MISFIT® mark in stylized


form (        ) are valid and that the Registrations and Applications are valid and subsisting.
The Donatell Entities shall not at any time or for any reason challenge either the validity of




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Misfit's MISFIT® mark or MISFIT® mark in stylized form (                      ) or Registrations or
Applications or Misfit’s ownership thereof.

        6.      Mutual Release. Provided that the Parties are in full compliance with their
respective obligations in this Agreement, the Parties, on behalf of themselves, their predecessors,
successors, direct and indirect parent companies, direct and indirect subsidiary companies,
companies under common control with any of the foregoing, affiliates and assigns, and its and
their past, present, and future officers, directors, shareholders, interest holders, members,
partners, attorneys, agents, employees, managers, representatives, assigns, and successors in
interest, and all persons acting by, through, under, or in concert with them, and each of them,
hereby release and discharge the other Party, together with their predecessors, successors, direct
and indirect parent companies, direct and indirect subsidiary companies, companies under
common control with any of the foregoing, affiliates and assigns and its and their past, present,
and future officers, directors, shareholders, interest holders, members, partners, attorneys, agents,
employees, managers, representatives, assigns and successors in interest, and all persons acting
by, through, under, or in concert with them, and each of them, from all known and unknown
charges, complaints, claims, grievances, liabilities, obligations, promises, agreements,
controversies, damages, actions, causes of action, suits, rights, demands, costs, losses, debts,
penalties, fees, expenses (including attorneys' fees and costs actually incurred), and punitive
damages, of any nature whatsoever, known or unknown, which either Party has, or may have
had, against the other Party, whether or not apparent or yet to be discovered, or which may
hereafter develop, for any acts or omissions related to or arising from the Dispute.
Notwithstanding the foregoing, nothing in this Agreement shall be construed as, or constitute, a
release of any Party's rights to enforce the terms of this Agreement.

        7.     Non-Disparagement. The Parties agree that, unless required to do so by legal
process, they and their officers and directors will not make any disparaging statements or
representations, either directly or indirectly, whether orally or in writing, by word or gesture, to
any person whatsoever, about the other Party or its attorneys, representatives, affiliates, directors,
officers, employees or agents. For purposes of this paragraph a disparaging statement or
representation is any communication which, if publicized to another, would cause or tend to
cause the recipient of the communication to question the business condition, integrity,
competence, good character, or product quality of the person or entity to whom the
communication relates.

       8.      Agreement is Legally Binding. The Parties intend this Agreement to be legally
binding upon and shall inure to the benefit of each of them and their respective successors,
assigns, executors, administrators, heirs and estates.

        9.     Entire Agreement. The recitals set forth at the beginning of this Agreement are
incorporated by reference and made a part of this Agreement. This Agreement constitutes the
entire agreement and understanding of the Parties and supersedes all prior negotiations and/or
agreements, proposed or otherwise, written or oral, concerning the subject matter hereof.
Furthermore, no modification of this Agreement shall be binding unless in writing and signed by
each of the Parties.


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        10.    Interpretation. Should any provision of this Agreement be declared or be
determined by any court to be illegal or invalid, the validity of the remaining parts, terms or
provisions shall not be affected thereby and said illegal or invalid part, term or provision shall be
deemed not to be a part of this Agreement. The headings within this Agreement are purely for
convenience and are not to be used as an aid in interpretation. Moreover, this Agreement shall
not be construed against either Party as the author or drafter of the Agreement.

       11.     Governing Law and Submission to Jurisdiction.

               (a)     This Agreement and all related documents, and all matters arising out of
       or relating to this Agreement, are governed by, and construed in accordance with, the
       laws of the State of Minnesota, without regard to the conflict of laws provisions thereof
       to the extent such principles or rules would require or permit the application of the laws
       of any jurisdiction other than those of the State of Minnesota.

              (b)      Any action, suit or other proceeding arising out of or related to this
       Agreement shall be instituted exclusively in the federal courts of the United States or the
       courts of the State of Minnesota in each case located in the city of Minneapolis and
       County of Hennepin, and each party irrevocably submits to the exclusive jurisdiction of
       such courts in any such suit, action or proceeding. Service of process, summons, notice or
       other document by mail to such party's address set forth herein shall be effective service
       of process for any action, suit or other proceeding brought in any such court.

        12.     Notices. All notices, demands or other communications required or permitted to
be given under this Agreement by either Party to the other may be effected either by personal
delivery in writing, or by Federal Express or similar courier, postage prepaid with return receipt
requested. Mailed notices shall be addressed to the other Party at the address appearing in the
introductory paragraph of this Agreement, which the Parties represent are true and accurate as of
the Effective Date, and that each Party will provide notice to the other Parties pursuant to this
Section within ten business days of changing its address. Notices delivered personally will be
deemed communicated as of actual receipt. Mailed notices will be deemed communicated as of
five days after mailing.

        13.     Equitable Relief. The Donatell Entities acknowledge that a breach or threatened
breach by the Donatell Entities of any of their obligations under this Agreement would give rise
to irreparable harm to Misfit for which monetary damages would not be an adequate remedy and
hereby agrees that in the event of a breach or a threatened breach by the Donatell Entities of any
such obligations, Misfit shall, in addition to any and all other rights and remedies that may be
available to it in respect of such breach, be entitled to equitable relief, including a temporary
restraining order, an injunction, specific performance, and any other relief that may be available
from a court of competent jurisdiction (without any requirement to post bond).

        14.     Attorneys’ Fees. In the event that any Party institutes any legal suit, action or
proceeding against the other Party arising out of or relating to this Agreement, the prevailing
party in the suit, action or proceeding shall be entitled to receive in addition to all other damages
to which it may be entitled, the costs incurred by such party in investigating the claim,




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conducting the suit, action or proceeding, including actual attorneys’ fees and expenses and court
costs, through all appeals.

       15.     Reliance on Own Counsel. In entering into this Agreement, the Parties
acknowledge that they have relied upon the legal advice of their respective attorneys, who are the
attorneys of their own choosing, that such terms are fully understood and voluntarily accepted by
them, and that, other than the consideration set forth herein, no promises or representations of
any kind have been made to them by the other Party. The Parties represent and acknowledge that
in executing this Agreement they did not rely, and have not relied, upon any representation or
statement, whether oral or written, made by the other Party or by that other Party’s agents,
representatives or attorneys with regard to the subject matter, basis or effect of this Agreement or
otherwise.

       16.     Counterparts. This Agreement may be executed in one or more counterparts, each
of which will be deemed to be an original, and such counterparts will together constitute one and
the same instrument. The Parties agree that this Agreement may be signed electronically
pursuant to the ESIGN Act, and agree that the electronic signatures appearing on this Agreement
are the same as handwritten signatures for the purposes of validity, enforceability, and
admissibility.

       17.     Authority to Execute Agreement. By signing below, each Party warrants and
represents that the person signing this Agreement on its behalf has authority to bind that Party
and that the Party’s execution of this Agreement is not in violation of any By-law, Covenant
and/or other restrictions placed upon them by their respective entities.

                                    {Signature Page Follows}




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        IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first
above written.




Date:     (27
           JO [JOP
                                           By: Marcus Parkansky
                                           CEO

                                           TONY fe

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                                           Tony Donatcl


                                           Misfit AV


Date al a                                              pours
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                                           By: Tony Donatell
                                           Manager


                                           Lene Oak Store,          LIEC


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                                           By: Tony Dorel! V
                                           Manager




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